Case No. 1:20-cv-02878-DDD-MEH Document 31 filed 02/24/21 USDC Colorado pg 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-02878-DDD-MEH

   ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC

          Plaintiff,

   v.                                                           PATENT CASE

   ZOOM VIDEO COMMUNICATIONS, INC.

         Defendant.
   _____________________________________


                                   JOINT STIPULATION OF DISMISSAL


            Plaintiff Rothschild Broadcast Distribution Systems, LLC and Defendant Zoom

    Video Communications, Inc. by their respective undersigned counsel, hereby STIPULATE

    and AGREE as follows:

          1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

                  under Fed. R. Civ. P. 41(a)(1)(A)(ii);

          2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

                  dismissed hereby;

   This Stipulation shall finally resolve the Action between the parties.

   Dated: February 24, 2021                  Respectfully submitted,




   STIPULATION OF DISMISSAL                         |1
Case No. 1:20-cv-02878-DDD-MEH Document 31 filed 02/24/21 USDC Colorado pg 2 of 2




                                           /s/ Jay Johnson
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                                           ATTORNEY FOR DEFENDANT

                                  CERTIFICATE OF SERVICE
         I hereby certify that on February 24, 2021 a true and correct copy of the foregoing JOINT
   STIPULATION OF DISMISSAL was electronically filed and served via CM/ECF on
   Defendant’s counsel.
                                              /s/Jay Johnson
                                              Jay Johnson




   STIPULATION OF DISMISSAL                      |2
